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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 RICHARD REJHON,
                                                                                  Case No. 21 Civ. 4510
                           Plaintiff,

                                             -and-                                COMPLAINT

 THE CITY OF NEW YORK, BILL DE BLASIO, as Mayor of                                (Jury Trial Demanded)
 The City of New York, THE CITY OF NEW YORK
 DEPARTMENT OF TRANSPORTATION, HENRY
 GUTMAN, as Commissioner of The City of New York
 Department of Transportation, THE CITY OF NEW YORK
 DEPARTMENT OF CITYWIDE ADMINISTRATIVE
 SERVICES, LISETTE CAMILO, as Commissioner of The
 City of New York Department of Citywide Administrative
 Services, SEUPERSAUD BHARAT, KATHY WALCOTT,
 ERIC DORCEAN, and PETER WISMER,

                           Defendants,

 -----------------------------------------------------------------------------x

        Plaintiffs Richard Rejhon (hereinafter individually referred to as “Plaintiff”), by and

through his undersigned attorneys, The Law Offices of Fausto E. Zapata, Jr., P.C., hereby files

this Action against Defendants The City of New York, Bill De Blasio, The City of New York

Department of Transportation, Henry Gutman, The City of New York Department of Citywide

Administrative Services, Lisette Camilo, Seupersaud Bharat, Kathy Walcott, Eric Dorcean and

Peter Wismer (hereinafter collectively referred to as “Defendants”) and allege, upon personal

knowledge, and upon information and belief as to other matters, as follows:

                                        NATURE OF THE ACTION

1.      Plaintiff complains pursuant to the Rehabilitation Act of 1973, 29 U.S.C. 701 et seq.

(hereinafter, “Rehabilitation Act”), Americans with Disabilities Act, 42 U.S.C. § 12101 et seq.

(hereinafter, “ADA”), the New York City Human Rights Law, N.Y. City Admin. Code, § 8-101
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et seq., (hereinafter “NYCHRL”), and the New York State Human Rights Law, N.Y. Executive

Law § 290 et seq. (hereinafter, “NYSHRL”), and seeks declaratory and injunctive relief and

damages to redress the injuries Plaintiff suffered as a result of Defendant’s violation of the

Rehabilitation Act, ADA, NYSHRL, and NYCHRL on the basis of Plaintiff’s disability.

                                 JURISDICTION AND VENUE

2.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiffs’ Rehabilitation Act and ADA claims arise under the laws of the United States, i.e., 42

U.S.C. § 12101 et seq. and 29 U.S.C. 701 et seq., and 28 U.S.C. § 1337 because the rights

contained in the ADA were created by congress using its power to regulate commerce.

3.     This Court has supplemental jurisdiction over Plaintiffs’ New York State claims pursuant

to 28 U.S.C. § 1367 because they are so related to the Rehabilitation Act and ADA claims in this

action that they form part of the same controversy under Article III of the United States

Constitution.

4.     This Court is empowered to issue a declaratory judgment and further necessary or proper

relief based on a declaratory judgment pursuant to 28 U.S.C. §§ 2201 and 2202.

5.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because a substantial

part of the events or omissions giving rise to the claims occurred in this district.

                               PROCEDURAL PREREQUISITES

6.     In or around July 20, 2020, Plaintiff filed a charge of discrimination with the United

States Equal Employment Opportunity Commission alleging that his Defendants discriminated

against her based on his hearing disability.

7.     In or around May 25, 2021, Plaintiff was issued a right to sue letter and fewer than ninety

days have elapsed since Plaintiff received the same.




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                                                PARTIES

8.      Plaintiff was born in 1962 and at all relevant times herein has resided in Queens County,

within the City of New York.

9.      At all relevant times herein, Plaintiff has used, and continues to use, hearing aids in both

ears and has little or no ability to hear in his left ear.

10.     At all times relevant herein, Plaintiff has is, and has been, a “qualified individual” as

defined within 42 U.S.C. § 12111(8).

11.     Defendant The City of New York is a municipal corporation duly organized and existing

under the Constitution and laws of the State and City of New York.

12.     At all relevant times herein, The City of New York is a “covered entity” as defined

within 42 U.S.C. § 12111(2).

13.     At all relevant times herein, The City of New York is, and has been, an “employer” as

defined within 42 U.S.C. § 12111(5).

14.     Defendant Bill De Blasio is the Mayor of the City of New York, whose general powers

and related limitations are within the N.Y. City Charter, Chapter 1, §§ 1 – 20-l, and N.Y. City

Admin. Code §§ 3-101 et seq.

15.     Defendant The City of New York Department of Transportation (hereinafter “DOT”) is a

mayoral agency of The City of New York organized and existing under the New York City

Charter, Chapter 71 §§ 2901 et seq. and the New York City Administrative Code, Title 19, §§

19-101 et seq.

16.     At all relevant times herein, DOT is a “covered entity” as defined within 42 U.S.C. §

12111(2).




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17.    At all relevant times herein, DOT is, and has been, an “employer” as defined within 42

U.S.C. § 12111(5).

18.    Defendant Henry Gutman is the Commissioner of DOT and whose general powers and

related limitations are within the N.Y. City Charter, Chapter 35, §§ 810 – 829, and N.Y. City

Admin. Code, Title 19, Chapters 1 – 10, §§ 19-101 - 19-1005.

19.    Defendant The City of New York Department of Citywide Administrative Services

(“DCAS”), is an agency of the City of New York authorized and existing pursuant to N.Y. Civil

Service Law § 15 and NY City Charter §§ 810-829.

20.    At all relevant times herein, DCAS is a “covered entity” as defined within 42 U.S.C. §

12111(2).

21.    At all relevant times herein, DCAS is, and has been, an “employer” as defined within 42

U.S.C. § 12111(5).

22.    Defendant Lisette Camilo is the Commissioner of DCAS and has the powers and duties

set forth in the New York City Charter, Chapter §§ 810, et seq., and New York City

Administrative Code, Title 12, §§ 12-201 – 12-210.

23.    Defendants The City of New York, The City of New York Department of Transportation,

and The City of New York Department of Citywide Administrative Services receive direct and

indirect federal funding and are subject to the Rehabilitation Act.

24.    Seupersaud Bharat is an employee of The City of New York Department of

Transportation who is assigned to work as a Supervisor of Mechanics, (Mechanical Equipment).

25.    Kathy Walcott is an employee of The City of New York Department of Transportation

who is assigned to work as a Personnel Coordinator of Fleet Service.




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26.    Eric Dorcean is an employee of The City of New York Department of Transportation

with an underlying civil service title of Supervisor of Mechanics, (Mechanical Equipment) and

who is assigned to work as Director of Fleet Services.

27.    Peter Wismer is an employee of The City of New York Department of Transportation

with an underlying civil service title of Supervisor of Mechanics, (Mechanical Equipment) and

who is assigned to work as Chief of Operations (Supervisor of Mechanics).

28.    Defendants Bharat, Walcott, Dorcean, and Wismer are each a “person” as defined within

N.Y. City Admin. Code § 8-102.

29.    At all relevant times herein, Defendants are each, individually and collectively, an

“employer”, as defined within N.Y. Executive Law § 292(5).

30.    At all relevant times herein, Defendants are each, individually and collectively, an

“employer”, as defined within N.Y. City Admin. Code § 8-102.

                                  FACTUAL ALLEGATIONS

31.    In or around October 2002, Plaintiff was appointed to the Auto Mechanic civil service

position for The City of New York Department of Transportation.

32.    Plaintiff obtained this appointment after having sat for and passing a competitive civil

service position for the Auto Mechanic position, which was subject to a one-year probationary

period before becoming a permanent civil service position with due process protections.

33.    At all relevant times herein, Plaintiff is, and has been, hearing impaired and is affected to

the extent that the frequency and intensity is so compromised that he must wear hearing aids to

ameliorate his loss of hearing.

34.    Even when Plaintiff wears hearing aids, he will, nevertheless, experiences difficulty

understanding words and speech when there is background noise.




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35.     By virtue of his impairment, Plaintiff has difficulty adjusting his voice for any given

context and will often, unintentionally, speak louder than others.

36.     In or around March 21, 2012, Defendants prepared and published an Amended Notice of

Examination for Exam No. 2506 (“Exam No. 2506”) setting for the minimum qualifications

required for promotion to the Supervisor of Mechanics (Mechanical Equipment), a permanent

civil service position.

37.     Exam No. 2506 was a promotional competitive examination that was only open to

approximately five civil service positions, including, in part, Auto Mechanic.

38.     The Notice of Examination stated that the position of Supervisor of Mechanics

(Mechanical Equipment) involved supervising and directing the work of assigned personnel in

connection with the repair, overhaul and maintenance of various types of mechanical equipment,

motor vehicles and automotive equipment, under either general and/or direct supervision.

39.     In or around April 2012, Plaintiff sat for and passed the competitive civil service

examination for appointment to the Supervisor of Mechanics (Mechanical Equipment).

40.     Plaintiff had the requisite skill, experience, education and other job-related requirements

for appointment to the position of Supervisor of Mechanics (Mechanical Equipment), with or

without a reasonable accommodation.

41.     In or around September 17, 2018, Plaintiff was appointed to the position of Supervisor of

Mechanics (Mechanical Equipment) after passing a promotional civil service examination, Exam

No. 2506, and being selected from the resulting certified civil service list.

42.     Plaintiff’s appointment to the position of Supervisor of Mechanics (Mechanical

Equipment) was subject to successful completion of a one-year probationary period before

Plaintiff acquired a property interest and due process protections with respect to this position.




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43.     After being appointed to the Supervisor of Mechanics (Mechanical Equipment) position,

Plaintiff was subjected to unlawful discrimination because he was hearing impaired.

44.     At all relevant times herein, Defendants were notice that Plaintiff had a hearing

impairment because Plaintiff was subject to annual hearing tests that have put Defendants on

notice that Plaintiff has suffered significant hearing loss and that he is, by virtue of this

impairment, disabled under the Rehabilitation Act, ADA, NYSHRL, and NYCHRL.

45.     Defendants were also fully aware that Plaintiff wears hearing aids because it is noted in

Defendants’ records relating to Defendants’ employer sponsored annual hearing tests, which

states, in part, “[e]mployee uses hearing aids in both ears and reports complete hearing loss in

left ear.”

46.     Plaintiff was discriminated against by Defendants during his probationary period for the

Supervisor of Mechanics (Mechanical Equipment) position because he was hearing impaired.

47.     For example, Plaintiff did not receive his tasks and standards and performance

evaluations on a timely basis, having his probationary period extended in violation of

Defendants’ own rules, terminating Plaintiff from his probationary position, refusing to consider

Plaintiff’s appeal to a negative performance evaluation and failing to investigate Plaintiff’s

complaint of discrimination.

48.     As and for another example, in or around February 2019, Plaintiff was directed to report

for duty at the Harper Street worksite and Seupersaud Bharat, Supervisor of Mechanics

(Mechanical Equipment), Plaintiff’s direct supervisor, assigned Plaintiff to perform the duties of

Mr. Palamar, a supervisor who was on vacation but refused to provide Plaintiff with access to the

computer database that was necessary to perform the assigned duties.




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49.    Plaintiff pointed out that he had not been provided with the proper credentials to Mr.

Bharat, who was aware that Plaintiff was hearing impaired, and instead of helping Plaintiff, he

closed out the assignment, which made it appear as though Plaintiff had not performed the

assignment.

50.    When Plaintiff objected to the assignment being closed out under these circumstances,

Mr. Bharat yelled at, berated, and demeaned Plaintiff.

51.    Shortly thereafter, Mr. Bharat accused Plaintiff of shouting at him and having an angry

outburst in a February 26, 2019 email wherein he sought to have Plaintiff disciplined.

52.     At the time that Mr. Bharat sent the February 26, 2019 email, he was aware that Plaintiff

is hearing impaired and that he sometimes spoke loudly because of his impairment.

53.    Notably, Mr. Bharat attempted to invoke the disciplinary process by preparing a Record

of Progressive Discipline, which contemplated a meeting to address any perceived transgressions

and create a record of the meeting.

54.    Mr. Bharat deprived Plaintiff of a meeting prior to preparing and submitting a Record of

Progressive Discipline, which was in violation of Defendants’ written policies and procedures.

55.    On another occasion, in or around August 2019, Plaintiff asked Kathy Walcott, Personnel

Coordinator of Fleet Services, to answer a phone that was ringing in the Bronx Shop, as he was

making his way over to answer it, because she very was close to the phone and Plaintiff wanted

to avoid missing the call.

56.    Ms. Walcott accused Plaintiff of yelling at her and when Plaintiff explained to her that he

was hearing impaired, she effectively called him a liar and told Plaintiff that he was intentionally

rude to her.




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57.    Ms. Walcott reported Plaintiff’s perceived transgression of yelling at her and as a result

Plaintiff was subsequently called to a meeting with Eric Dorcean, who was three levels above

Plaintiff on the chain command and also Director of Fleet Services, Peter Wismer, Chief of

Operations (Supervisor of Mechanics), and Ms. Walcott.

58.    Prior to the meeting, in email, dated August 15, 2019, Ms. Walcott documented another

alleged incident involving Manuel Matos, Plaintiff’s subordinate, wherein he complained that

Plaintiff issued him a direct order to provide Plaintiff with his timesheet and that when Mr.

Matos told Plaintiff to wait, Plaintiff threatened to send him home. According to Ms. Walcott,

Mr. Matos provided Plaintiff with the timesheet and Plaintiff allegedly called him a

troublemaker.

59.    In the same email, Ms. Walcott also recounted Mr. Matos’ allegations concerning a

conversation that Plaintiff allegedly had with him wherein he mentioned to Plaintiff that he had

worked at The City of New York Department of Sanitation under the supervision of Danny

Johnson.

60.    In her email, Ms. Walcott’s alleged that Mr. Matos accused Plaintiff of calling Mr.

Johnson and asking about Mr. Matos’ history at the Department of Sanitation and that when Mr.

Matos learned, he got upset.

61.    At the meeting itself, Ms. Walcott’s emails and complaints were discussed and Plaintiff

explained that he and Mr. Johnson were military war veterans and that they have been friendly

since 1984.

62.    Plaintiff explained that he spoke to Mr. Johnson as a friend and mentioned the individuals

who reported to him, including Mr. Matos.




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 63.       When asked about his interactions with Mr. Matos, Plaintiff explained that any reference

 about sending anybody home was a joke and that it was clear, contextually, that Plaintiff was

 joking around.

 64.       Plaintiff was told that the two incidents involving Mr. Matos were unwarranted and

 established that Plaintiff had a problem with Mr. Matos. Plaintiff was told that he could not call

 someone’s former supervisor because it was inappropriate.

 65.       During this meeting, Ms. Walcott openly stated that she did not like Plaintiff’s “loud

 voice.”

 66.       When Plaintiff explained that he was hearing impaired and that he sometimes spoke

 loudly without realizing it and Ms. Walcott accused Plaintiff of not being truthful and that she

 could tell that Plaintiff was yelling at her because of his demeanor.

 67.       Mr. Dorcean and Mr. Wismer cautioned Plaintiff that his behavior, including his volume

 when speaking, was unacceptable and that it had to change.

 68.       In addition to the aforementioned, Defendants subjected Plaintiff to discrimination on the

 basis of his disability in the conduct of his probation evaluations.

 69.       For example, Plaintiff did not receive his tasks and standards until February 7, 2019, even

 though Plaintiff was appointed on September 17, 2018, which was in violation of Defendants’

 policies and procedures, that required that every other probationary employee in The City of

 New York immediately receive, upon appointment to their new probationary position, written

 tasks and standards to apprise them of the metrics by which their performance be will be

 measured,




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 70.     Defendants’ failure to provide Plaintiff with his tasks and standards at the start of his

 probationary evaluation period violated Defendants’ policies and procedures, as reflected within

 R.C.N.Y. tit. 55. 55 Appendix ¶ 7.5.4(e) § 5 (2021).

 71.     Moreover, Plaintiff did not receive his first probationary evaluation until July 1, 2019, or

 41 weeks had passe, in violation of DCAS’ Personal Rules and Regulations of the City of New

 York, Rule 7.5.6, entitled, Sub-Managerial Performance Evaluations for Probationary

 Employees, which entitled Plaintiff to quarterly performance evaluations during his one-year

 probationary period.

 72.     Mr. Arce also discriminated against Plaintiff in a memorandum, dated July 23, 2019,

 wherein he wrote that Plaintiff was under his supervision in September 2018 and November

 2018 to December 2018 and that Plaintiff was “short with employees” and that Plaintiff was

 “overwhelmed”; however, he did not provide a scintilla of evidence or a single example in

 support of these false allegations, nor did he ever discuss his perceived shortcomings with

 Plaintiff at that time.

 73.     Defendants also discriminated against Plaintiff by unlawfully extending his probationary

 period in violation of its own policies and procedures.

 74.     In or around August 22, 2019, Plaintiff was put on notice that Defendants wanted to

 extend his probationary period.

 75.     At the time, Plaintiff’s probationary period was set to expire on September 16, 2019;

 hence, Defendants did not provide Plaintiff with one month’s notice, in violation of Defendants

 policies, i.e., Personnel Service Bulletin (PSB), No. 200-6(II)(C).

 76.     Defendants extended Plaintiff’s probation in excess of six months, also in violation of

 Defendants' rules.




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 77.    Defendants extended Plaintiff’s probation without seeking the approval of Defendant

 DCAS at least two weeks before the extension was to begin, in violation of Defendants’ rules,

 i.e., Personnel Service Bulletin (PSB), No. 200-6(II)(C).

 78.    Defendants issued Plaintiff two performance evaluations within days apart, on February

 7, 2020, and February 11, 2020, in violation of R.C.N.Y. tit. 55, Appendix ¶ 7.5.6(a) (2021).

 79.    The February 7, 2020 Non-Managerial Tasks and Standards Performance Evaluation, that

 Defendants issued to Plaintiff was conducted by Mr. Wismer who issued Plaintiff an overall

 “Conditional” rating and reasoned that this was due to, “Progressive discipline on 2/3/19 code of

 conduct 3 by Class II Supervisor Bharat. Richard does good job holding GPC to accountability.”

 80.    As to the February 11, 2020 evaluation, Mr. Wismer rated Plaintiff as being

 unsatisfactory in 3 out of 11 and recommended Plaintiff’s demotion.

 81.    Defendants did not describe any substantive and/or specific examples of any

 shortcomings in the actual performance in any of Plaintiff’s performance evaluations.

 82.    On February 11, 2020, Helene Holloway, Director of Personnel, sent Plaintiff a letter

 stating that Plaintiff’s probationary appointment was being terminated effective that day, at the

 close of business and that he was being demoted to his underlying permanent civil service title,

 Auto Mechanic, effective February 12, 2020.

 83.    Plaintiff was demoted from Supervisor of Mechanics (Mechanical Equipment) to the

 Auto Mechanic despite having performed the essential functions of the Supervisor of Mechanics

 (Mechanical Equipment) for the entire duration of his appointment.

 84.    The demotion from Supervisor of Mechanics (Mechanical Equipment) to Auto Mechanic

 in a loss of pay of at least $40,000 per year.




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 85.       On February 14, 2020, Plaintiff filed a Performance Evaluation Appeal and Complaint of

 Discrimination, pursuant to the procedures as laid out in the February 5, 2020 evaluation.

 86.       In his complaint of discrimination, Plaintiff explained that he was hearing impaired and

 as a result sometimes spoke louder than the average person and that this was used as a basis to

 deny him continued employment in the position of Supervisor of Mechanics (Mechanical

 Equipment).

 87.       Defendants failed to conduct an investigation or action taken in response to Plaintiff’s

 complaints and appeal.

 88.       As a result of the Defendants’ discriminatory actions, Plaintiff has suffered from anxiety,

 stress, depression, emotional pain, and loss of sleep, and suffered friction in his relationships

 with friends and family.

                      AS A FIRST CAUSE OF ACTION
       AGAINST DEFENDANTS THE CITY OF NEW YORK, DOT, AND DCAS FOR
             DISCRIMINATION UNDER THE REHABILITATION ACT

 89.       Plaintiff repeats and realleges each and every allegation made in the above paragraphs in

 this complaint.

 90.       At all relevant times herein, Plaintiff has had a “disability” as defined within 29 U.S.C. §

 705(9).

 91.       At all relevant times herein, Plaintiff has had a record demonstrating that he has impaired

 hearing.

 92.       At all relevant times herein, Defendants were aware that Plaintiff had a record

 demonstrating that he had impaired hearing.




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 93.    Plaintiff’s impaired hearing is a physical impairment that substantially limits Plaintiff’s

 ability to perform and/or engage in major life activities, including hearing, speaking,

 communicating with others, and working.

 94.    Defendants regarded Plaintiff as having a disability and handicap because Plaintiff is

 hearing impaired.

 95.    The Rehabilitation Act of 1973, 29 U.S.C. § 794 provides that:

                No otherwise qualified individual with a disability in the United
                States, as defined in section 705 (20) of this title, shall, solely by
                reason of his or her disability, be excluded from the participation in,
                be denied the benefits of, or be subjected to discrimination under
                any program or activity receiving Federal financial assistance or
                under any program or activity conducted by any Executive agency
                or by the United States Postal Service. The head of each such agency
                shall promulgate such regulations as may be necessary to carry out
                the amendments to this section made by the Rehabilitation,
                Comprehensive Services, and Development Disabilities Act of
                1978. Copies of any proposed regulations shall be submitted to
                appropriate authorizing committees of the Congress, and such
                regulation may take effect no earlier than the thirtieth day after the
                date of which such regulation is so submitted to such committees.

 96.    The protections within the Rehabilitation Act and the supporting Code of Federal

 Regulations apply to Defendants and protect Plaintiff against unlawful employment

 discrimination on the basis of disability.

 97.    Defendants discriminated against Plaintiff on the basis of his disability, in violation of the

 Rehabilitation Act.

 98.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct, in

 violation of the Rehabilitation Act, Plaintiff has suffered, and continues to suffer, severe mental

 anguish and emotional distress.




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 99.       Due to Defendants’ Rehabilitation Act violations, Plaintiff is entitled to recover back pay,

 reinstatement, or in lieu of reinstatement, front pay, compensatory and punitive damages,

 reasonable attorneys’ fees and costs.

 100.      Plaintiff hereby makes a claim against Defendants under all applicable paragraphs of the

 Rehabilitation Act.

                      AS A SECOND CAUSE OF ACTION
        AGAINST DEFENDANTS THE CITY OF NEW YORK, DOT, AND DCAS FOR
        HOSTILE WORK ENVIRONMENT UNDER THE REHABILITATION ACT


 101.      Plaintiff repeats and realleges each and every allegation made in the above paragraphs in

 this complaint.

 102.      At all relevant times herein, Plaintiff has had a “disability” as defined within 29 U.S.C. §

 705(9).

 103.      At all relevant times herein, Plaintiff has had a record demonstrating that he has impaired

 hearing.

 104.      At all relevant times herein, Defendants were aware that Plaintiff had a record

 demonstrating that he had impaired hearing.

 105.      Plaintiff’s impaired hearing is a physical impairment that substantially limits Plaintiff’s

 ability to perform and/or engage in major life activities, including hearing, speaking,

 communicating with others, and working.

 106.      At all relevant times herein, Defendants regarded Plaintiff as having a disability and

 handicap because Plaintiff is hearing impaired.

 107.      The Rehabilitation Act of 1973, 29 U.S.C. § 794 provides that:

                   No otherwise qualified individual with a disability in the United
                   States, as defined in section 705 (20) of this title, shall, solely by
                   reason of his or her disability, be excluded from the participation in,



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                be denied the benefits of, or be subjected to discrimination under
                any program or activity receiving Federal financial assistance or
                under any program or activity conducted by any Executive agency
                or by the United States Postal Service. The head of each such agency
                shall promulgate such regulations as may be necessary to carry out
                the amendments to this section made by the Rehabilitation,
                Comprehensive Services, and Development Disabilities Act of
                1978. Copies of any proposed regulations shall be submitted to
                appropriate authorizing committees of the Congress, and such
                regulation may take effect no earlier than the thirtieth day after the
                date of which such regulation is so submitted to such committees.

 108.   The protections within the Rehabilitation Act and the supporting Code of Federal

 Regulations apply to Defendants and protect Plaintiff against unlawful employment

 discrimination on the basis of disability.

 109.   Defendants violated the Rehabilitation Act by subjecting Plaintiff to a workplace that was

 so severely permeated with discriminatory intimidation, ridicule, and insult, based on Plaintiff’s

 disability, that the terms and conditions of his employment where thereby altered.

 110.   Defendants knew or reasonably should have known of the severe and pervasive nature of

 the disability harassment that Plaintiff was subjected to.

 111.   Defendants failed to take prompt and remedial action to address the disability based

 hostile work environment that Plaintiff was subjected to.

 112.   As a direct and proximate result of Defendants’ unlawful discriminatory conduct, in

 violation of the Rehabilitation Act, Plaintiff has suffered, and continues to suffer, severe mental

 anguish and emotional distress.

 113.

 114.   Due to Defendants’ Rehabilitation Act violations, Plaintiff is entitled to recover back pay,

 reinstatement, or in lieu of reinstatement, front pay, compensatory and punitive damages,

 reasonable attorneys’ fees and costs.




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 115.    Plaintiff hereby makes a claim against Defendants under all applicable paragraphs of the

 Rehabilitation Act.

                        AS A THIRD CAUSE OF ACTION
        AGAINST DEFENDANTS THE CITY OF NEW YORK, DOT, AND DCAS FOR
                      DISCRIMINATION UNDER THE ADA

 51.     Plaintiff repeats and realleges each and every allegation made in the above paragraphs in

 this complaint.

 52.     At all relevant times herein, Plaintiff has had a record demonstrating that he has impaired

 hearing.

 53.     At all relevant times herein, Defendants were aware that Plaintiff had a record

 demonstrating that he had impaired hearing.

 54.     Plaintiff’s impaired hearing is a physical impairment that substantially limits Plaintiff’s

 ability to perform and/or engage in major life activities, including hearing, speaking,

 communicating with others, and working.

 55.     Defendants regarded Plaintiff as having a disability and handicap because Plaintiff is

 hearing impaired.

 56.     The ADA, § 12112(a), provides that:

                   No covered entity shall discriminate against a qualified individual
                   on the basis of disability in regard to job application procedures, the
                   hiring, advancement, or discharge of employees, employee
                   compensation, job training, and other terms, conditions, and
                   privileges of employment.

 57.     The protections within the ADA and the supporting Code of Federal Regulations apply to

 Defendants and protect Plaintiff against unlawful employment discrimination on the basis of

 disability.




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 58.    Defendants violated this statute by discriminating against Plaintiff in violation of the

 ADA.

 59.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct, in

 violation of the ADA, Plaintiff has suffered, and continues to suffer, severe mental anguish and

 emotional distress.

 60.    Due to Defendants’ ADA violations, Plaintiff is entitled to recover back pay,

 reinstatement, or in lieu of reinstatement, front pay, compensatory and punitive damages,

 reasonable attorneys’ fees and costs.

 61.    Plaintiff hereby makes a claim against Defendants under all applicable paragraphs of the

 ADA.

                       AS A FOURTH CAUSE OF ACTION
         AGAINST DEFENDANTS THE CITY OF NEW YORK, DOT, AND DCAS FOR
                 HOSTILE WORK ENVIRONMENT UNDER THE ADA

 116.   Plaintiff repeats and realleges each and every allegation made in the above paragraphs in

 this complaint.

 117.   At all relevant times herein, Plaintiff has had a record demonstrating that he has impaired

 hearing.

 118.   At all relevant times herein, Defendants were aware that Plaintiff had a record

 demonstrating that he had impaired hearing.

 119.   Plaintiff’s impaired hearing is a physical impairment that substantially limits Plaintiff’s

 ability to perform and/or engage in major life activities, including hearing, speaking,

 communicating with others, and working.

 120.   Defendants regarded Plaintiff as having a disability and handicap because Plaintiff is

 hearing impaired.




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 121.    The ADA, § 12112(a), provides that:

                No covered entity shall discriminate against a qualified individual
                on the basis of disability in regard to job application procedures, the
                hiring, advancement, or discharge of employees, employee
                compensation, job training, and other terms, conditions, and
                privileges of employment.

 122.    The protections within the ADA and the supporting Code of Federal Regulations apply to

 Defendants and protect Plaintiff against unlawful employment discrimination on the basis of

 disability.

 123.    Defendants violated the ADA by subjecting Plaintiff to a workplace that was so severely

 permeated with discriminatory intimidation, ridicule, and insult, based on Plaintiff’s disability,

 that the terms and conditions of his employment where thereby altered.

 124.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct, in

 violation of the ADA, Plaintiff has suffered, and continues to suffer, severe mental anguish and

 emotional distress.

 125.

 126.    Defendants knew or reasonably should have known of the severe and pervasive nature of

 the disability harassment that Plaintiff was subjected to.

 127.    Defendants failed to take prompt and remedial action to address the disability based

 hostile work environment that Plaintiff was subjected to.

 128.    Due to Defendants’ ADA violations, Plaintiff is entitled to recover back pay,

 reinstatement, or in lieu of reinstatement, front pay, compensatory and punitive damages,

 reasonable attorneys’ fees and costs.




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                                 AS A FIFTH CAUSE OF ACTION
                                  AGAINST DEFENDANTS FOR
                             DISCRIMINATION UNDER THE NYCHRL

 62.    Plaintiff repeats and realleges each and every allegation made in the above paragraphs in

 this complaint.

 63.    At all relevant times herein, Plaintiff has been “disabled” within the meaning of N.Y.

 City Admin. Code § 8-102.

 64.    NYCHRL § 8-107(1) provides that:

                   It shall be an unlawful discriminatory practice: (a) for an employer
                   or an employee or agent thereof, because of the actual or perceived
                   age, race, creed, color, national origin, gender, disability, marital
                   status, partnership status, sexual orientation or alienage or
                   citizenship status of any person, to refuse to hire or employ or to bar
                   or to discharge from employment such person or to discriminate
                   against such person in compensation or in terms, conditions or
                   privileges of employment.

 65.    The protections within the NYCHRL apply to Defendants and protect Plaintiff against

 unlawful employment discrimination on the basis of disability.

 66.     Defendants engaged in unlawful discriminatory practices in violation of NYCHRL § 8-

 107(1) by discriminating against Plaintiff based on Plaintiff’s disability.

 67.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct, in

 violation of the NYCHRL, Plaintiff has suffered, and continues to suffer, severe mental anguish

 and emotional distress.

 68.    At all relevant times herein, Plaintiff has been a “person aggrieved”, as defined within

 N.Y. City Admin. Code § 8-102, as a result of Defendants’ unlawful discriminatory conduct.

 69.    Due to Defendants’ NYCHRL violations, Plaintiff is entitled to recover back pay,

 reinstatement, or in lieu of reinstatement, front pay, compensatory and punitive damages,

 reasonable attorneys’ fees and costs.



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 70.     Plaintiff hereby makes a claim against Defendants under all the applicable paragraphs of

 the NYCHRL.

                    AS A SIXTH CAUSE OF ACTION
   AGAINST DEFENDANTS BHARAT, WALCOTT, DORCEAN, AND WISMER FOR
                   INTERFERENCE UNDER NYCHRL

 71.    Plaintiff repeats and re-alleges each and every allegation made in the above paragraphs in

 this complaint.

 72.    At all relevant times herein, Plaintiff has been “disabled” within the meaning of N.Y.

 City Admin. Code § 8-102.

 73.    NYCHRL § 8-107(19) provides that:

                   It shall be an unlawful discriminatory practice for any person to
                   coerce, intimidate, threaten or interfere with, or attempt to coerce,
                   intimidate, threaten or interfere with, any person in the exercise or
                   enjoyment of, or on account of his or her having aided or encouraged
                   any other person in the exercise or enjoyment of, any right granted
                   or protected pursuant to this section.

 74.    The protections within the NYCHRL apply to Defendants and protect Plaintiff against

 unlawful employment discrimination on the basis of disability.

 75.    Thus, Defendants unlawfully discriminated against the Plaintiff by interfering with his

 rights protected under the NYCHRL by threatening him with discipline for conduct that was

 caused by Plaintiff’s disability.

 76.    At all relevant times herein, Plaintiff has been a “person aggrieved”, as defined within

 N.Y. City Admin. Code § 8-102, as a result of Defendants’ unlawful discriminatory conduct.

 77.    As a direct and proximate result of Defendants Bharat’s, Walcott’s, Dorcean’s, and

 Wismer’s unlawful discriminatory conduct, in violation of the NYCHRL, Plaintiff has suffered,

 and continues to suffer, severe mental anguish and emotional distress.




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 78.    Defendants’ unlawful discriminatory actions constitute malicious, willful and wanton

 violations of the NYCHRL for which Plaintiff is entitled to an award of punitive damages.

 79.    Due to Defendants’ NYCHRL violations, Plaintiff is entitled to recover back pay,

 reinstatement, or in lieu of reinstatement, front pay, compensatory and punitive damages,

 reasonable attorneys’ fees and costs.

 80.    Plaintiff hereby makes a claim against Defendants under all applicable paragraphs of the

 NYCHRL.

                  AS AN SEVENTH CAUSE OF ACTION
   AGAINST DEFENDANTS BHARAT, WALCOTT, DORCEAN, AND WISMER FOR
                AIDING AND ABETTING UNDER NYCHRL

 129.   Plaintiff repeats and re-alleges each and every allegation of the preceding paragraphs

 herein with the same force and effect as though fully set forth herein.

 130.   At all relevant times herein, Plaintiff has been “disabled” within the meaning of N.Y.

 City Admin. Code § 8-102.

 131.   The NYCHRL, NYC Administrative Code, § 8-107(6) provides:

                a.      Aiding and abetting. It shall be an unlawful discriminatory
                practice for any person to aid, abet, incite, compel or coerce the
                doing of any of the acts forbidden under this chapter, or to attempt
                to do so.


 132.   The protections within the NYCHRL apply to Defendants and protect Plaintiff against

 unlawful employment discrimination on the basis of disability.

 133.   Defendants Bharat, Walcott, Dorcean, and Wismer unlawfully discriminated against the

 Plaintiff by aiding and abetting Defendants The City of New York’s, DOT’s, and DCAS’

 unlawful discriminatory conduct, in violation of the NYCHRL.




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 134.   Defendants Bharat, Walcott, Dorcean, and Wismer NYCHRL violations have caused

 Plaintiff irreparable harm for which there is no adequate remedy at law.

 135.   As a direct and proximate result of Defendants Bharat’s, Walcott’s, Dorcean’s, and

 Wismer’s unlawful discriminatory conduct, in violation of the NYCHRL, Plaintiff has suffered,

 and continues to suffer, severe mental anguish and emotional distress.

 136.   Defendants’ unlawful discriminatory actions constitute malicious, willful and wanton

 violations of the NYCHRL for which Plaintiff is entitled to an award of punitive damages.

 137.   At all relevant times herein, Plaintiff has been a “person aggrieved”, as defined within

 N.Y. City Admin. Code § 8-102, as a result of Defendants’ unlawful discriminatory conduct.

 138.   Plaintiff hereby makes a claim against Defendants Bharat, Walcott, Dorcean, and Wismer

 under all applicable paragraphs of the NYCHRL.

                               AS AN EIGHTH CAUSE OF ACTION
                                  AGAINST DEFENDANTS FOR
                               DISCRIMINATION UNDER NYSHRL

 81.    Plaintiff repeats and re-alleges each and every allegation made in the above paragraphs in

 this complaint.

 82.    At all relevant times herein, Plaintiff has been disabled within the meaning of N.Y.

 Executive Law § 292(21).

 83.    At all relevant times herein, Defendants Bharat, Walcott, Dorcean, and Wismer each,

 individually and collectively, had the authority to hire employees, including Plaintiff’s

 employment.

 84.    At all relevant times herein, Defendants Bharat, Walcott, Dorcean, and Wismer each,

 individually and collectively, had the authority to fire employees, including Plaintiff’s

 employment.




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 85.    The NYSHRL, Executive Law, Article 15, § 296(1) provides that it shall be an unlawful

 employment practice:

                   (a) for an employer or licensing agency, because of an individual’s
                   age, race, creed, color, national origin, sexual orientation, military
                   status, sex, disability, predisposing genetic characteristics, marital
                   status, or domestic violence victim status, to refuse to hire or
                   employ or to bar or to discharge from employment such individual
                   or to discriminate against such individual in compensation or in
                   terms, conditions or privileges of employment.

 86.    The protections within the NYSHRL apply to Defendants and protect Plaintiff against

 unlawful employment discrimination on the basis of disability.

 87.    Defendant violated the NYSHRL, Executive Law, Article 15, § 296(1), by discriminating

 against Plaintiff based on his disability.

 88.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct, in

 violation of the NYSHRL, Plaintiff has suffered, and continues to suffer, severe mental anguish

 and emotional distress.

 89.    Due to Defendants’ NYSHRL violations, Plaintiff is entitled to recover back pay,

 reinstatement, or in lieu of reinstatement, front pay, compensatory and punitive damages,

 reasonable attorneys’ fees and costs.

 90.    Plaintiff hereby makes a claim against Defendant under all the applicable paragraphs of

 the NYSHRL.

                        AS A NINTH CAUSE OF ACTION
                         AGAINST DEFENDANTS FOR
        DISABILITY BASED HOSTILE WORK ENVIRONMENT UNDER NYSHRL

 139.   Plaintiff repeats and realleges each and every allegation made in the above paragraphs in

 this complaint.




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 140.   At all relevant times herein, Plaintiff has been disabled within the meaning of N.Y.

 Executive Law § 292(21).

 141.   At all relevant times herein, Plaintiff has had a record demonstrating that he has impaired

 hearing.

 142.   At all relevant times herein, Defendants were aware that Plaintiff had a record

 demonstrating that he had impaired hearing.

 143.   Plaintiff’s impaired hearing is a physical impairment that substantially limits Plaintiff’s

 ability to perform and/or engage in major life activities, including hearing, speaking,

 communicating with others, and working.

 144.   Defendants regarded Plaintiff as having a disability and handicap because Plaintiff is

 hearing impaired.

 145.   The NYSHRL, Executive Law, Article 15, § 296(1) provides that it shall be an unlawful

 employment practice:

                (a) for an employer or licensing agency, because of an individual’s
                age, race, creed, color, national origin, sexual orientation, military
                status, sex, disability, predisposing genetic characteristics, marital
                status, or domestic violence victim status, to refuse to hire or
                employ or to bar or to discharge from employment such individual
                or to discriminate against such individual in compensation or in
                terms, conditions or privileges of employment.

 146.   The protections within the NYSHRL and the supporting regulations apply to Defendants

 and protect Plaintiff against unlawful employment discrimination on the basis of disability.

 147.   Defendants violated the NYSHRL by subjecting Plaintiff to a workplace that was so

 severely permeated with discriminatory intimidation, ridicule, and insult, based on Plaintiff’s

 disability, that the terms and conditions of his employment where thereby altered.




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 148.   As a direct and proximate result of Defendants’ unlawful discriminatory conduct, in

 violation of the NYSHRL, Plaintiff has suffered, and continues to suffer, severe mental anguish

 and emotional distress.

 149.   Defendants knew or reasonably should have known of the severe and pervasive nature of

 the disability harassment that Plaintiff was subjected to.

 150.   Defendants failed to take prompt and remedial action to address the disability based

 hostile work environment that Plaintiff was subjected to.

 151.   Due to Defendants’ NYSHRL violations, Plaintiff is entitled to recover back pay,

 reinstatement, or in lieu of reinstatement, front pay, compensatory and punitive damages,

 reasonable attorneys’ fees and costs.

                    AS A TENTH CAUSE OF ACTION
   AGAINST DEFENDANTS BHARAT, WALCOTT, DORCEAN, AND WISMER FOR
                AIDING AND ABETTING UNDER NYSHRL


 152.   Plaintiff repeats and re-alleges each and every allegation of the preceding paragraphs

 herein with the same force and effect as though fully set forth herein.

 153.   The NYSHRL, N.Y. Executive Law §296(6), provides that:

                It shall be an unlawful discriminatory practice for any person to aid,
                abet, incite, compel or coerce the doing of any of the acts forbidden
                under this article, or to attempt to do so.

 154.   The protections within the NYSHRL apply to Defendants and protect Plaintiff against

 unlawful employment discrimination on the basis of disability.

 155.   Defendants Bharat, Walcott, Dorcean, and Wismer unlawfully discriminated against the

 Plaintiff by aiding and abetting Defendants The City of New York’s, DOT’s, and DCAS’

 unlawful discriminatory conduct, in violation of the NYSHRL.




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 156.    Defendants Bharat, Walcott, Dorcean, and Wismer NYSHRL violations have caused

 Plaintiff irreparable harm for which there is no adequate remedy at law.

 157.    As a direct and proximate result of Defendants Bharat’s, Walcott’s, Dorcean’s, and

 Wismer’s unlawful discriminatory conduct, in violation of the NYSHRL, Plaintiff has suffered,

 and continues to suffer, severe mental anguish and emotional distress.

 158.    Defendants’ unlawful discriminatory actions constitute malicious, willful and wanton

 violations of the NYSHRL for which Plaintiff is entitled to an award of punitive damages.

 159.    Due to Defendants’ NYCHRL violations, Plaintiff is entitled to recover back pay,

 reinstatement, or in lieu of reinstatement, front pay, compensatory and punitive damages,

 reasonable attorneys’ fees and costs.

 160.    Plaintiff hereby makes a claim against Defendants Bharat, Walcott, Dorcean, and Wismer

 under all applicable paragraphs of the NYCHRL.

 161.    Plaintiff hereby makes a claim against Defendants under all applicable paragraphs of the

 NYCHRL.



 WHEREFORE, Plaintiff respectfully requests a judgment against the Defendants:

        A.   Declaring that Defendants discriminated against Plaintiff on the basis of his disability, in

             violation of the Rehabilitation Act, ADA, NYCHRL, and NYSHRL;

        B.   An injunction against Defendant and their respective officers, agents, successors,

             employees, representatives and any and all persons acting in concert with them, as

             provided by law, from engaging in each of the unlawful practices, policies and

             patterns set forth herein;




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